Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 1 of 6
Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 2 of 6
Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 3 of 6
Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 4 of 6
Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 5 of 6
Case 11-62832-crm   Doc 4   Filed 04/29/11 Entered 04/29/11 13:19:30   Desc Main
                            Document      Page 6 of 6
